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                             13   THE APPEAL, INC., and ETHAN COREY
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                             15                         IN THE UNITED STATES DISTRICT COURT
                             16                             CENTRAL DISTRICT OF CALIFORNIA
                             17                                   EASTERN DIVISION
                             18
                                                                            Case No. 5:22-cv-02111
                             19   THE APPEAL, INC., and ETHAN COREY,
                                                                            RULE 7.1 CORPORATE
                             20               Plaintiffs,                   DISCLOSURE STATEMENT
                             21         v.
                             22   UNITED STATES DEPARTMENT OF
                                  JUSTICE’S OFFICE OF JUSTICE
                             23   PROGRAMS,
                             24               Defendant.
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                                  RULE 7.1 CORPORATE DISCLOSURE STATEMENT
                                  Case No. 5:22-cv-02111
                            Case 5:22-cv-02111-JFW-AFM Document 3 Filed 11/28/22 Page 2 of 2 Page ID #:72


                              1           Pursuant to Rule 7.1(a) of the Federal Rules of Civil Procedure and Local Rule 7.1.1, The
                              2   Appeal, Inc., is a private, non-governmental entity, states that it has no corporate parents, affiliates
                              3   and/or subsidiaries which are publicly held, and therefore no publicly-held corporation owns 10%
                              4   or more of its stock.
                              5

                              6   DATED: November 28, 2022                               Respectfully submitted,
                              7                                                          DAVIS WRIGHT TREMAINE LLP
                              8

                              9                                                          By: /s/ Thomas R. Burke
                                                                                             THOMAS R. BURKE
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                                                                                         Attorneys for Plaintiffs THE APPEAL, INC.,
                             11                                                          and ETHAN COREY
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                                  RULE 7.1 CORPORATE DISCLOSURE STATEMENT
                                  Case No. 5:22-cv-02111
